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                                                                                                                2200 Ross Avenue, Suite 2800
                                                                                                                            Dallas, TX 75201
                                                                                                                    Telephone: 214-740-8000
                                                                                                                          Fax: 214-740-8800
                                                                                                                          www.lockelord.com

                                                                                                                            Taylor F. Brinkman
                                                                                                              Direct Telephone: 214-740-8442
                                                                                                                     Direct Fax: 214-756-8332
                                                                                                                     tbrinkman@lockelord.com




                                                              June 7, 2016


BY EFILE

Magistrate Judge David Horan
U.S. District Court for the Northern District of Texas
Earle Cabell Federal Building and Courthouse
1100 Commerce Street, Room 1549
Dallas, Texas 75242

        Re:        Western Healthcare, LLC v. National Fire and Marine Insurance Company, et al.,
                   No. 3:16-CV-00565-L-BN

Dear Magistrate Judge Horan:

        Pursuant to the Order of Reference entered in the above-referenced action (ECF No.
13), I have attached a copy of Defendant Thomas Meierant’s Motion to Dismiss for Lack of
Personal Jurisdiction or, Alternatively, For Failure to State a Claim. Please let me know if you
need anything additional.

Sincerely,




Taylor F. Brinkman



Attachment




       Atlanta | Austin | Boston | Chicago | Dallas | Hartford | Hong Kong | Houston | Istanbul | London | Los Angeles | Miami | Morristown
          New Orleans | New York | Providence | Sacramento | San Francisco | Stamford | Tokyo | Washington DC | West Palm Beach
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                IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

WESTERN HEALTHCARE, LLC,            §
                                    §
           Plaintiff,               §
                                    §
vs.                                 §      NO. 3:16-CV-00565-L-BN
                                    §
NATIONAL FIRE AND MARINE            §      (Magistrate Judge Horan)
INSURANCE COMPANY, ET AL.,          §
                                    §
           Defendants.              §


 DEFENDANT THOMAS MEIERANT’S MOTION TO DISMISS FOR LACK OF
         PERSONAL JURISDICTION OR, ALTERNATIVELY,
               FOR FAILURE TO STATE A CLAIM


                                        Susan A. Kidwell
                                        LOCKE LORD LLP
                                        600 Congress Street, Suite 2200
                                        Austin, Texas 78701
                                        T: (512) 305-4766
                                        F: (512) 391-4766
                                        skidwell@lockelord.com

                                        Taylor F. Brinkman
                                        LOCKE LORD LLP
                                        2200 Ross Avenue, Suite 2800
                                        Dallas, Texas 75201
                                        T: (214) 740-8442
                                        F: (214) 756-8332
                                        tbrinkman@lockelord.com

                                        ATTORNEYS FOR DEFENDANT
                                        THOMAS MEIERANT
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       Defendant Thomas Meierant (“Meierant”) moves to dismiss the claims against him

for lack of personal jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2), or,

alternatively, for failure to state a claim pursuant to Federal Rule of Civil Procedure

12(b)(6).

                    OVERVIEW OF GROUNDS FOR DISMISSAL

       No personal jurisdiction: Defendant Meierant is a resident of Missouri. Because

he lacks sufficient minimum contacts with the State of Texas, the Texas long-arm statute

does not permit this Court to exercise personal jurisdiction over him. Defendant Meierant

has not had continuous and systematic minimum contacts with Texas, as required for the

exercise of general jurisdiction. And Plaintiff’s claims do not arise from and are not

sufficiently related to any purposeful activities conducted by Defendant Meierant in Texas,

as is required for the exercise of specific jurisdiction. Absent sufficient minimum contacts

with Texas, the exercise of personal jurisdiction over Defendant Meierant would offend

traditional notions of fair play and substantial justice. Accordingly, Defendant Meierant

requests that this Court dismiss Plaintiff’s claims against him for lack of personal

jurisdiction. See FED. R. CIV. P. 12(b)(2).

       Failure to state a claim:     In the unlikely event that the Court concludes that

Defendant Meierant is subject to personal jurisdiction in Texas, Plaintiff’s claims that

Defendant Meierant was negligent and that he violated the Deceptive Trade Practices-

Consumer Protection Act (“DTPA”) and Chapter 542 of the Texas Insurance Code must

still be dismissed because the factual allegations in the complaint are patently insufficient

to state a claim for relief against Defendant Meierant under those theories. Accordingly, if

the claims against him are not dismissed for lack of personal jurisdiction, they should be

dismissed under Rule 12(b)(6).


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       MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION

A.     Applicable legal standard.

       “Federal Rule 12(b)(2) provides for the dismissal of a complaint when the court

lacks personal jurisdiction over a defendant in the case.” Tex. Opportunity Fund L.P. v.

Hammerman & Gainer Int’l, Inc., 107 F. Supp. 3d 620, 627 (N.D. Tex. 2015). “A federal

court may exercise personal jurisdiction over a nonresident defendant if (1) the forum

state’s long-arm statute confers personal jurisdiction over that defendant; and (2) the

exercise of personal jurisdiction comports with the Due Process Clause of the Fourteenth

Amendment.” McFadin v. Gerber, 587 F.3d 753, 759 (5th Cir. 2009), quoted in Tex.

Opportunity Fund, 107 F. Supp. 3d at 627. Because the Texas long-arm statute reaches

“‘as far as the federal constitutional requirements for due process will allow,’ . . . the

statute’s requirements are satisfied if exercising jurisdiction comports with federal due

process limitations.” Am. Type Culture Collection, Inc. v. Coleman, 83 S.W.3d 801, 806

(Tex. 2002) (quoting Guardian Royal Exch. Assur., Ltd. v. English China Clays, P.L.C.,

815 S.W.2d 223, 226 (Tex. 1991)). “[T]he relevant inquiry is whether the exercise of

personal jurisdiction over a non-resident defendant offends due process.” Tex. Opportunity

Fund, 107 F. Supp. 3d at 627.

       “For half a century, the touchstone of jurisdictional due process has been

‘purposeful availment.’” Michiana Easy Livin’ Country, Inc. v. Holten, 168 S.W.3d 777,

784 (Tex. 2005). Consequently, “it is essential in each case that there be some act by

which the defendant purposefully avails itself of the privilege of conducting activities

within the forum State, thus invoking the benefits and protections of its laws.” Id. (quoting

Hanson v. Denckla, 357 U.S. 235, 253 (1958) (emphasis in original)). The exercise of

personal jurisdiction is consistent with federal due-process guarantees only if (i) the


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defendant has established minimum contacts with the forum state and (ii) the exercise of

jurisdiction comports with traditional notions of fair play and substantial justice. PHC-

Minden, L.P. v. Kimberly-Clark Corp., 235 S.W.3d 163, 166 (Tex. 2007). Minimum

contacts, if established, may give rise to either general or specific jurisdiction. Moki Mac

River Expeditions v. Drugg, 221 S.W.3d 569, 575 (Tex. 2007).

         The Texas Supreme Court has “consistently held that the plaintiff bears the initial

burden to plead sufficient allegations to bring the nonresident defendant within the reach of

Texas’s long-arm statute.” Kelly v. Gen. Interior Constr., Inc., 301 S.W.3d 653, 658 (Tex.

2010).    “[T]he defendant’s corresponding burden to negate jurisdiction is tied to the

allegations in the plaintiff’s pleading.” Id. Accordingly, the analysis begins with the

jurisdictional allegations in Plaintiff’s complaint.

B.       Plaintiff has not alleged sufficient facts to bring Defendant Meierant within
         the reach of the Texas long-arm statute.

         Plaintiff asserts that “[t]he court has personal jurisdiction over all Defendants

because, at a minimum, all Defendants have established minimum contacts with the State

of Texas.” (See ECF No. 1-3 [Orig. Pet.], ¶ 9.) But conclusory assertions are insufficient

to satisfy Plaintiff’s initial burden to allege sufficient facts to bring Defendant Meierant

within the provisions of the long-arm statute. See Kelly, 301 S.W.3d at 658.

         When, as here, “the plaintiff fails to plead facts bringing the defendant within reach

of the long-arm statute (i.e., for a tort claim, that the defendant committed tortious acts in

Texas), the defendant need only prove that it does not live in Texas to negate jurisdiction.”

Kelly, 301 S.W.3d at 658-59. Defendant Meierant, a resident of Missouri, has met that




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burden. (See Declaration of Thomas Meierant.)1 The jurisdictional analysis can and

should end here. See Kelly, 301 S.W.3d at 658.

C.         The Court lacks general jurisdiction over Defendant Meierant.

           General jurisdiction exists when “the defendant has made continuous and

systematic contacts with the forum.”                Moki Mac, 221 S.W.3d at 575.         But general

jurisdiction turns on more than the sheer number of contacts amassed over time.                   It

“requires a showing that the defendant conducted substantial activities within the

forum . . . .” CSR Ltd. v. Link, 925 S.W.2d 591, 595 (Tex. 1996) (emphasis added). To be

subject to general jurisdiction, a defendant must engage in “‘activities in the forum state

similar in frequency and nature to the activities of local businesses.’” PHC-Minden, 235

S.W.3d at 168 (quoting Charles W. “Rocky” Rhodes, Clarifying General Jurisdiction, 34

SETON HALL L. REV. 807, 811 (2004)). In other words, general jurisdiction requires a

defendant’s operations within the state to be so continuous and substantial as to render the

defendant essentially “at home” in the state. Goodyear Dunlop Tires Ops., S.A. v. Brown,

131 S. Ct. 2846, 2853 & 2857 (2011).

           Given this demanding standard, it is not surprising that general jurisdiction is

exceedingly rare. The United States Supreme Court has upheld the exercise of general

jurisdiction in only one case – Perkins v. Benguet Consolidated Mining Co., 342 U.S. 437

(1952). Perkins thus provides a benchmark by which to measure the contacts required for

general jurisdiction:

           In assessing whether the nonresident defendant’s Ohio contacts were
           sufficient to warrant a finding of general jurisdiction, the Court noted that
           the company’s president . . . maintained an Ohio office in which he “did
           many things on behalf of the company.” He maintained company files in

1
    The Declaration of Thomas Meierant is attached to this motion as Exhibit 1.


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       Ohio, carried on correspondence from there, drew and distributed salary
       checks from his Ohio office, used two Ohio bank accounts for company
       funds and had an Ohio bank act as transfer agent for the company’s stock,
       held directors’ meetings in Ohio, supervised policies dealing with the
       rehabilitation of the corporation’s properties in the Philippines [in Ohio],
       and dispatched funds from Ohio bank accounts to cover purchases of
       machinery for such rehabilitation.

PHC-Minden, 235 S.W.3d at 168; see also Pervasive Software, Inc. v. Lexware GMBH &

Co. KG, 688 F.3d 214, 230-31 (5th Cir. 2012) (using Perkins as a benchmark to determine

whether a defendant is sufficiently “at home” in a forum state as required to support

general jurisdiction).   In short, the defendant “carried on in Ohio a continuous and

systematic supervision of the necessarily limited wartime activities of the company.”

Perkins, 342 U.S. at 448.

       After discussing Perkins, the Texas Supreme Court acknowledged that “‘general

jurisdiction ‘typically requires the defendant to have an office in the forum state.’” PHC-

Minden, 235 S.W.3d at 168 (quoting 16 MOORE’S FEDERAL PRACTICE § 108.41[3]); see

also Moki Mac River Expeditions v. Drugg, 270 S.W.3d 799, 803 (Tex. App.—Dallas

2008, no pet.) (characterizing the maintenance of a Texas office as “the deciding factor in

Perkins”). Other “‘traditional indicia’ of general jurisdiction are ‘a home base, an agent

for the service of process, a local office, or the pursuance of business from a tangible

locale within the state.’” PHC-Minden, 235 S.W.3d at 168 (quoting Mary Twitchell, The

Myth of General Jurisdiction, 101 HARV. L. REV. 610, 635 (1988)). Those types of

contacts show that a defendant is “at home” in Texas, as required for general jurisdiction.

       Defendant Meierant has not had the types of continuous and systematic contacts

with Texas that would subject him to general jurisdiction:

       •   He does not own or lease and has never owned or leased any real property in
           Texas (Meierant Decl. ¶ 3);



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       •   He does not maintain and has never maintained an office in Texas (id. ¶ 4);

       •   He does not have and has never had any employees or agents working in Texas
           (id. ¶ 5);

       •   He does not have and has never had a telephone listing in Texas (id. ¶ 6);

       •   He does not enter into and has never entered into contracts with Texas residents
           (id. ¶ 7);

       •   He does not and has never advertised in Texas (id. ¶ 8);

       •   He does not design, manufacture, ship, sell, or market any products in Texas,
           and has never designed, manufactured, shipped, sold or marketed any products
           in Texas (id. ¶¶ 9-13);

       •   He does not have and has never had any bank accounts in Texas (id. ¶ 14);

       •   He does not pay and has never paid any taxes in Texas (id. ¶ 15); and

       •   He does not have and has never had a registered agent for service of process in
           Texas (id. ¶ 16).

Because Defendant Meierant does not have the quantity or quality of contacts that would

make him “at home” in Texas, he is not subject to general jurisdiction in this State.

D.     The Court lacks specific jurisdiction over Defendant Meierant.

       Nor does Defendant Meierant have sufficient minimum contacts with Texas to

subject him to specific jurisdiction. Specific jurisdiction exists when: (i) the defendant has

made minimum contacts by purposefully availing itself of the privilege of conducting

activities in the forum state, and (ii) those contacts bear a “substantial connection” to the

operative facts of the litigation. Moki Mac, 221 S.W.3d at 584-85. In determining whether

a nonresident defendant has purposefully availed itself of the privilege of doing business in

the state, Texas courts consider the following three factors:

       First, only the defendant’s contacts with the forum are relevant, not the
       unilateral activity of another party or person. Second, the contacts relied
       upon must be purposeful rather than random, fortuitous, or attenuated.
       Thus, sellers who reach out beyond one state and create continuing


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        relationships and obligations with citizens of another state are subject to
        the jurisdiction of the latter in suits based on their activities. Finally, the
        defendant must seek some benefit, advantage or profit by availing itself of
        the jurisdiction.

Retamco Operating, Inc. v. Republic Drilling Co., 278 S.W.3d 333, 338-39 (Tex. 2009),

quoted in Moncrief Oil Int’l v. Oao Gazprom, 414 S.W.3d 142, 151 (Tex. 2013).

        Nothing in the Complaint indicates that Defendant Meierant had any contacts with

the State of Texas that bear any relationship to the operative facts of this litigation. All of

Western’s allegations against Defendant Meierant concern his actions in connection with a

lawsuit filed in Illinois. Specifically, Western alleges that Defendant Meierant (1) did not

produce the NFM policy to Western’s attorneys despite being obligated to do so, (2)

directed Western’s defense counsel to respond that the full policy limits were available to

settle the claims in the Illinois case, and (3) failed to inform Western’s counsel that the

policy limits were eroding. (ECF No. 1-3, ¶¶ 13-14.) None of these alleged actions

(assuming they occurred) occurred in Texas, as Defendant Meierant does not work in

Texas and the counsel hired to defend Western in Illinois was not located in Texas.

(Meierant Decl. ¶¶ 1, 19.) In addition, Defendant Meierant never made any representations

in Texas or to anyone in Texas regarding any of the events giving rise to the Complaint.

(Id. ¶ 19.)   Given that none of Defendant Meierant’s alleged wrongdoing has any

connection whatsoever to Texas, Plaintiff cannot show that Defendant Meierant

purposefully availed himself of the benefits of doing business as Texas, as required to

establish specific jurisdiction.

        Furthermore, even if Defendant Meierant’s alleged conduct giving rise to this

litigation could somehow be connected to Texas, that conduct still would not be sufficient

to establish jurisdiction because all of Defendant Meierant’s alleged conduct was made



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solely on behalf of and for the benefit of his employer, MedPro, not for his own benefit.

(ECF No. 1-3, ¶ 12 (“At all times relevant to this lawsuit, Meierant was acting within the

course and scope of his agency with MedPro”).) Under the fiduciary shield doctrine, “an

individual’s transaction of business within the state solely as a corporate officer does not

create personal jurisdiction over that individual.” Evergreen Media Holdings, LLC v.

Safran Co., 68 F. Supp. 2d 664, 676 (S.D. Tex. 2014) (quoting Stuart v. Spademan, 772

F.2d 1185, 1197 (5th Cir. 1985) (internal quotation marks omitted)); Ten Mile Indus. Park

v. W. Plains Serv., 810 F.2d 1518, 1527 (10th Cir. 1987) (“[w]here the acts of individual

principals of a corporation in the jurisdiction were carried out solely in the individuals'

corporate or representative capacity, the corporate structure will ordinarily insulate the

individuals from the court's jurisdiction.”). Although exceptions to that doctrine exist

where the individual is the alter ego of his employer or where the individual performed

acts for his own individual benefit, Plaintiff has not alleged any facts remotely suggesting

that either of these exceptions apply. See Saktides v. Cooper, 742 F. Supp. 382, 387 (W.D.

Tex. 1990).     Simply put, “a nexus is lacking between [Defendant Meierant], in his

individual capacity, the forum, and this litigation.” Id. As a result, there is no specific

jurisdiction.

E.      Exercising personal jurisdiction over Defendant Meierant would offend
        traditional notions of fair play and substantial justice.

        Absent minimum contacts, the Court need not consider whether the exercise of

personal jurisdiction would comport with traditional notions of fair play and substantial

justice. See Internet Advertising Group, Inc. v. Accudata, Inc., 301 S.W.3d 383, 392-93

(Tex. App.—Dallas 2009, no pet.). When, as here, there are insufficient contacts with

Texas to support jurisdiction, exercising jurisdiction “does not comport with traditional


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notions of fair play and substantial justice.” See Moki Mac, 270 S.W.3d at 804. Nor

would the exercise of jurisdiction over Meierant comport with traditional notions of fair

play and substantial justice. See Saktides v. Cooper, 742 F. Supp. 382, 387 (W.D. Tex.

1990) (“it would offend traditional notions of fair play and substantial justice to force

employees who have occasion to do business by telephone or mail with any number of

given states, to require that they defend lawsuits in those states in their individual capacity

based on acts not performed for their own benefit”).

       In light of firmly established case law and Plaintiff’s wholly deficient allegations

against Defendant Meierant, the Texas long-arm statute does not permit this Court to

exercise personal jurisdiction over Defendant Meierant.            The exercise of personal

jurisdiction would also violate the United States Constitution and offend traditional notions

of fair play and substantial justice. Accordingly, Plaintiff’s claims against Defendant

Meierant should be dismissed for lack of personal jurisdiction.           See FED. R. CIV. P.

12(b)(2).

            MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       Even if the Court determines that Defendant Meierant is subject to personal

jurisdiction in Texas (which he is not), it still must dismiss the claims against him for (1)

violation of the DTPA, (2) violation of Chapter 542 of the Insurance Code, and (3)

negligence because Plaintiff’s factual allegations do not state a claim against him upon

which relief can be granted under those theories.

A.     Legal standard.

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,




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556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678. “[W]hile the complaint need not articulate

‘detailed factual allegations,’ it must provide ‘more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do.’” Richardson v. Axion

Logistics, L.L.C., 780 F.3d 304, 306 (5th Cir. 2015) (quoting Twombly, 550 U.S. at 555).

As this Court has observed, “a court is not to strain to find inferences favorable to the

plaintiff and is not to accept conclusory allegations, unwarranted deductions, or legal

conclusions.” Sourcing Mgmt., Inc. v. Simclar, Inc., 118 F. Supp. 3d 899, 913 (N.D. Tex.

2015). “[W]here the well-pleaded facts do not permit the court to infer more than the mere

possibility of misconduct, the complaint has alleged – but it has not ‘show[n]’ – ‘that the

pleader is entitled to relief.’” Iqbal, 556 U.S. at 679 (quoting FED. R. CIV. P. 12(b)(6)).

B.       Plaintiff has failed to state a claim against Defendant Meierant.

         1.       There are no factual allegations to support a claim against Defendant
                  Meierant.

         Aside from general references to all “Defendants” and conclusory recitations of the

elements of Plaintiff’s causes of action—which the Supreme Court has instructed should

be ignored—the only factual allegations that relate to Defendant Meierant appear in

paragraphs 12 and 13 of the Complaint. Plaintiff alleges that:

     •   “NFM assigned its claims handling responsibilities to Defendant MedPro, who in

         turn assigned its agent, Defendant Meierant, to handle the claim.” (ECF No. 1-3,

         ¶ 12.)




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   •   “Plaintiff’s counsel [in the Illinois lawsuit] propounded discovery requests upon

       Western’s counsel, asking, among other things, that Western’s counsel produce a

       copy of Western’s insurance policy, and also asking Western’s counsel to divulge

       the amount of insurance available to resolve claims. Western’s defense counsel

       forwarded the requests to Meierant for response.” (Id. ¶ 13.)

   •   “Despite being obligated to do so, Meierant did not produce the policy.” (Id.)

   •   “Instead, Meierant directed Western’s defense counsel to respond that the full

       policy limits were available to settle the claims.” (Id.)

These allegations fail to state a claim for violation of the DTPA, violation of Chapter 542

of the Texas Insurance Code, or negligence.

       2.     Defendant has not stated a DTPA claim against Defendant Meierant.

       Plaintiff’s allegations fail to state an actionable DTPA claim against Defendant

Meierant. To begin, it is unclear from the Complaint what Plaintiff contends Defendant

Meierant did to violate the DTPA. The DTPA count in the Complaint merely alleges that

all “Defendants” committed the violations enumerated in the DTPA’s “laundry list”

without linking any specific Defendant to any specific violation. (ECF No. 1-3, ¶ 47.) The

only factual allegations against Defendant Meierant—that he failed to provide the policy to

Plaintiff’s defense counsel and erroneously represented to Plaintiff’s defense counsel that

the full policy limits were available—do not constitute a violation of any provision of the

DTPA. Consequently, Plaintiff has failed to allege facts from which the Court can infer

that Defendant Meierant is liable under the DTPA.

       Even if the conduct ascribed to Defendant Meierant could somehow be construed

to violate the DTPA, Plaintiff still cannot state an actionable DTPA claim because none of



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that conduct took place in connection with Plaintiff’s purchase of the insurance policy.

The DTPA was designed to protect consumers in consumer transactions. See Amstadt v.

U.S. Brass Corp., 919 S.W.2d 644, 649 (Tex. 1996). To be actionable under the DTPA,

the defendant’s alleged deceptive act or practice must have been committed in connection

with the plaintiff’s transaction in purchasing or leasing goods or services. Id. Here, the

consumer transaction that apparently serves as the foundation for Plaintiff’s claims is the

purchase of the insurance policy.        But Defendant Meierant had no connection with

Plaintiff’s   purchase   of   the    policy,   and   Defendant    Meierant’s   only   alleged

misrepresentations occurred long after Plaintiff purchased the policy, and were never even

communicated to Plaintiff.      Thus, assuming Defendant Meierant committed some act

prohibited by the DTPA, that act was not connected with Plaintiff’s transaction in

purchasing the insurance policy as required to support liability under the DTPA. See id.;

Taylor v. Burk, 722 S.W.2d 226, 229 (Tex. App.—Amarillo 1986, writ ref’d n.r.e.)

(affirming judgment notwithstanding the verdict on plaintiff’s DTPA claim because

plaintiff presented no evidence that defendant “was connected with the real estate

transaction” giving rise to plaintiff’s claims).

        3.      Plaintiff cannot state a claim against Meierant for Violation of Ch. 542
                of the Insurance Code because Ch. 542 only applies to insurers.

        Plaintiff’s allegations likewise fail to state a claim against Defendant Meierant

under Chapter 542 of the Insurance Code. Plaintiff cannot state a claim against Meierant

for violation of Chapter 542 of the Texas Insurance Code because Chapter 542 expressly

does not apply to him. Both the “Unfair Claim Settlement Practices” provisions and the

“Prompt Payment of Claims” provisions of Chapter 542 apply only to “insurer[s]

authorized to engage in business as an insurance company or to provide insurance in this


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state.” Tex. Ins. Code §§ 542.002, 542.052. Plaintiff does not allege any facts suggesting

that Meierant, an individual employee of a third-party claims administrator, is an “insurer”

authorized to engage in business as an insurance company or to provide insurance.

Accordingly, Plaintiff cannot state a claim against Meierant for violation of Chapter 542.

See Mainali Corp. v. Covington Specialty Ins. Co., 2015 WL 5098047, at *6 (N.D. Tex.

Aug. 31, 2015) (Fitzwater, J.) (holding that plaintiff could not state a claim under Chapter

542 against an insurance adjuster because an adjuster was not an “insurer” as defined by

Chapter 542); Messersmith v. Nationwide Mut. Fire Ins. Co., 10 F. Supp. 3d 721, 723

(N.D. Tex. 2014) (Solis, J.) (same).

       4.      Plaintiff cannot state a claim against Meierant for negligence because
               no facts are alleged that Meierant, individually, owed Plaintiff a duty.

       Plaintiff also cannot state a negligence claim against Defendant Meierant. To state

a claim for negligence, Plaintiff must allege facts from which the Court can infer that (1)

Defendant Meierant, individually, owed a legal duty to Plaintiff; (2) Defendant Meierant

breached that duty; and (3) Defendant Meierant’s breach proximately caused Plaintiff’s

damages.    E.g., W. Invs. v. Urena, 162 S.W.3d 547, 550 (Tex. 2005).              Plaintiff’s

allegations do not allow the Court to infer that Defendant Meierant owed Plaintiff any

duty. Plaintiff alleges that Defendant Meierant was, “[a]t all times relevant to this lawsuit,

acting within the course and scope of his agency with MedPro.” (ECF No. 1-3, ¶ 12.) Any

acts or omissions by Meierant in the course of handling Plaintiff’s claim were therefore the

acts of MedPro. Any duty to use reasonable care in handling Plaintiff’s claim would run

from Meierant’s employer, MedPro, and not from Defendant Meierant individually.

Defendant Meierant cannot be individually liable to Plaintiff under a negligence theory.




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                                       PRAYER

       WHEREFORE, Defendant Meierant prays that the Court dismiss all of Plaintiff’s

claims against him for lack of personal jurisdiction. Alternatively, Defendant Meierant

prays that the Court dismiss Plaintiff’s claims for violation of the DTPA, violation of

Chapter 542 of the Texas Insurance Code, and negligence for failure to state a claim upon

which relief can be granted. Defendant Meierant also prays for any additional relief to

which he may be entitled.

Dated: June 7, 2016.                       Respectfully submitted,



                                           /s/ Taylor F. Brinkman
                                           Susan A. Kidwell
                                             Texas Bar No. 24032626
                                             skidwell@lockelord.com
                                           LOCKE LORD LLP
                                           600 Congress Street, Suite 2200
                                           Austin, Texas 78701
                                           T: (512) 305-4766
                                           F: (512) 391-4766

                                           Taylor F. Brinkman
                                            Texas Bar No. 24069420
                                            tbrinkman@lockelord.com
                                           LOCKE LORD LLP
                                           2200 Ross Avenue, Suite 2800
                                           Dallas, Texas 75201
                                           T: (214) 740-8000
                                           F: (214) 740-8800

                                           ATTORNEYS FOR DEFENDANT
                                           THOMAS MEIERANT




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                            CERTIFICATE OF SERVICE

        I certify that on June 7, 2016, I filed this document using the Court’s Electronic
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                                           /s/   Taylor F. Brinkman




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